            Case 3:18-cv-05139-BHS-DWC Document 81 Filed 10/02/18 Page 1 of 4



 1                                                       THE HONORABLE BENJAMIN SETTLE
                                                        THE HONORABLE DAVID W. CHRISTEL
 2
 3
 4
 5
 6
                           UNITED STATES DISTRICT COURT
 7                   WESTERN DISTRICT OF WASHINGTON AT TACOMA
 8
 9     JESUS CHAVEZ FLORES,                                       Case No.: 3:18-cv-05139-BHS-DWC

10                                                                AMENDED DECLARATION OF JOAN
                                        Plaintiff,
11                                                                K. MELL
       v.
12
                                                                  NOTED FOR: OCTOBER 12, 2018
13     UNITED STATES IMMIGRATION AND
       CUSTOMS ENFORCEMENT; THOMAS D.
14
       HOMAN, Deputy Director and Senior Official
15     Performing the Duties of the Director of the U.S.
       Immigration an Customs Enforcement; MARC J.
16
       MOORE, Director of the Seattle Field Office of
17     U.S. Customs Enforcement; BRYAN WILCOX,
       Deputy Director of the Seattle Field Office of U.S.
18
       Immigration and Customs Enforcement;
19     WILLIAM PENALOZA, Assitant Field Office
20     Director, Detention, Seattle Field Office of U.S.
       Immigration and Customs Enforcement; DREW
21     BOSTOCK, Assistant Field Office Director,
22     Seattle Field Office of U.S. Immigration and
       Customs Enforcement; ICE DOES 1-10; THE
23     GEO GROUP, INC., a Florida corporation;
24     LOWELL CLARK, Warden, Northwest Detention
       Center;     WILLIAM MCHATTON, Associate
25     Warden, Northwest Detention Center; MICHAEL
26     BEARDSLEY, Officer, Northwest Detention
       Center; LEROY PORTILLO, Captain, Northwest
27     Detention Center; GEO DOES 1-10,
28
                                        Defendants
29
30                                                                                  III BRANCHES LAW, PLLC
                                                                                            Joan K. Mell
     AMENDED DECLARATION OF JOAN K. MELL                                             1019 Regents Blvd. Ste. 204
31   3:18-cv-05139-BHS-DWC                             1! of 4!                          Fircrest, WA 98466
                                                                                          253-566-2510 ph
Case 3:18-cv-05139-BHS-DWC Document 81 Filed 10/02/18 Page 2 of 4
           Case 3:18-cv-05139-BHS-DWC Document 81 Filed 10/02/18 Page 3 of 4



 1                                  CERTIFICATE OF SERVICE
 2          I, Joseph Fonseca, hereby certify as follows:
 3
            I am over the age of 18, a resident of Pierce County, and not a party to the above action.
 4
     On October 2, 2018, I electronically filed the above Amended Declaration of Joan K. Mell, with
 5
 6   the Clerk of the Court using the CM/ECF system and served via the CM/ECF E-Service system

 7   and E-Mail to the following:
 8   Emily Chiang, WSBA No. 50517
 9   Eunice Hyunhye Cho, GA Bar No. 632669
     Antoinette M. Davis, WSBA No. 29821
10   American Civil Liberties Union of Washington Foundation
11   901 Fifth Avenue, Suite 630
     Seattle, WA 98164
12   (206)-624-2184
13   echiang@aclu-wa.org
     echo@aclu-wa.org
14   tdavis@aclu-wa.org
15
     McNaul, Ebel, Nawrot & Helgren, PLLC
16
     Daniel M. Weiskopf, WSBA No. 44941
17   Theresa DeMonte, WSBA No. 43994
     600 Univeristy Street, Suite 2700
18
     Seattle, WA 98101
19   dweiskopf@mcnaul.com
     tdemonte@mcnaul.com
20
21   Sarah K. Morehead, WSBA No. 29680
     Assistant United States Attorney
22
     United States Attorney's Office
23   700 Stewart Street, Suite 5220
     Seattle, WA 98101
24
     (206)-553-7970
25   sarah.morehead@usdol.gov
26
     ///
27
28   ///

29
30                                                                                    III BRANCHES LAW, PLLC
                                                                                              Joan K. Mell
      AMENDED DECLARATION OF JOAN K. MELL                                              1019 Regents Blvd. Ste. 204
31    3:18-cv-05139-BHS-DWC                                 3! of 4!                       Fircrest, WA 98466
                                                                                            253-566-2510 ph
           Case 3:18-cv-05139-BHS-DWC Document 81 Filed 10/02/18 Page 4 of 4



 1          I certify under penalty of perjury under the laws of the State of Washington that the above
 2
     information is true and correct.
 3
            DATED this 2nd day of October, 2018 at Fircrest, Washington.
 4
 5
 6                  Joseph Fonseca, Paralegal
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
29
30                                                                                   III BRANCHES LAW, PLLC
                                                                                             Joan K. Mell
      AMENDED DECLARATION OF JOAN K. MELL                                             1019 Regents Blvd. Ste. 204
31    3:18-cv-05139-BHS-DWC                              4! of 4!                         Fircrest, WA 98466
                                                                                           253-566-2510 ph
